Case 2:O4-CV-02325-SHI\/|-STA Document 29 Filed 06/30/05 Page 1 of 2 Page|D 35

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wEs'rERN DJ:v:csIoN 05 JUN 30 PH 5= 19
THOM*SM. GUJLD
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uNIoN PLANTERS coRPoRATIoN, w/DGF “*\ MCMH'HS
Plaintiff,
v. cv. No. 04-2325-Ma

AMERICAN NATIONAL INSURANCE COMPANY
OF TEXAS, INTERMEDIAR`Y' INSURANCE
SERV'I|ICES,r INC., and MOODY RE`V'IEW, INC.,

Defendants.
JUDGMENT
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Consent Order Dismissing Cause with
Prejudice, docketed June 24, 2005.

APPROW;// : ,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC"I‘ JUDGE

 

THOMAS M. GOULD `

 

DATE

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UNTED sTATEs DISTRICT COURT - WESTENR DTISICT OF TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

